Case 2:04-cr-20403-.]DB Document 55 Filed 06/20/05 Page 1 of 3 Page|D 53

Pss F”~ED B'y' .c'
rossi _ _ . ~‘-~. D.C,
Umted States Dlstrlct Court 95 JUU
for '\¢ 20 £H O: 3b
Western District of Tennessee .»'~?oE,E . ? , _
vS/;{BEH'T‘ i~» 3 QFJ?HYOUO
l . p\j. H;.'§;`APHCIQ
U.S.A. vs. Ron Reed Docket No. 04-20403-01-B

Petition for Action on Conditions of Pretrial Release

COMES NOW PRE'I`RIAL SERVICES OFFICER Murray Fullner presenting an official report upon the conduct
of defendant Ron Reed who was placed under pretrial release supervision by the Honorable Diane K. Vescovo sitting
in the court at Memphis, Tennessee, on the lsi day of 0ctober, 2004, under the following conditions:

l) Report as directed by the Pretrial Services Office

2) Refrain from possessing a firearm, destructive device, or other dangerous weapon

3) Refrain from unlawful possession or use of a narcotic drug or other controlled substance
4) Submit to substance abuse testing as directed by Pretrial Services

5) Subrnit to drug treatment as directed by Pretrial Services

* On October 1, 2004, Mr. Reed appeared before U.S. Magistrate Judge Diane K. Vescovo for a bail revocation
hearing Defendant Reed was subsequently released with the additional condition that he participate in home
confinement with electronic monitoring and be restricted to his residence during the times to be determined by his
pretrial services officer.

RESPECTFULLY PRESE.NTING PETlTION FOR ACTION OF COURT AND FOR CAUSE AS FOL.LOWS:

(SEE ATTACHMENT)

PRAYING THAT THE COURT WILL ORDER the issuance of a warrant so that Ron Reed may appear and show
cause as to why his pretrial release should not be revoked.

BOND RECOMMENDATION: NONE

ORDER OF COURT I declare under penalty of perjury that the
;+\ foregoing is true and correct.

Considex;ed-and ordered this 19

day of ~J '~"‘“""' ,2005, and ordered filed Executed on June 15, 2005

 

a a part of the records in the above case. mw ZAMMJ
»\%-\ ' /

Supervisory U.S. Pretria| Services Of`t`icer

nd
. . \
w U-S. Dlsmct lodge Place Memphis, TN
cm lia ca
' ument entered on the docket §hjet §§ clv p §
Tms doc r32{b) FRGrP on

W.`th mile 55 andfo

 

 

Case 2:04-cr-20403-.]DB Document 55 Filed 06/20/05 Page 2 of 3 Page|D 54

RE: Ron Reed

Petition for Action on Conditions of Pretrial Release
June 15, 2005

Page 2

The defendant has violated the following conditions of pretrial release;

l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

As previously reported, Ron Reed was cited December 12, 2004, by the Memphis Police Department for Theft of
Property $500 or Less. According to the citation, Mr. Reed attempted to walk out of I-lome Depot with two paint brushes
valued at $28.94. The matter is presently set for June 17, 2005, in Shelby County General Sessions Court.

2) Submit to any method of testing required bv the Pretrial Services Ol`fice or the supervising officer

As was reported in an earlier petition, Ron Reed failed to report to Pretrial Services on February 28, 2005, to submit to
a urinalysis test. Mr. Reed Was subsequently directed to report to the Pretrial Services Off`ice for drug testing on June
10,2005,June 13,2005, and June 15, 2005, but failed to do so.

As noted previously, on January 28, 2005, Ron Reed appeared before U.S. l\/lagistrate Judge Tu M. Pham for a bail
revocation hearing and was continued under supervisionl The Court advised the defendant that if he submitted a positive
urine specimen that day, it would not be considered for violation purposes and that subsequent positive urinalyses may
result in revocation of his bond. Mr. Reed's urinalysis submitted January 28, 2005, was positive for morphine as
confirmed by Kroll Laboratory Specialists.

3) Participate in home confinement with electronic monitoring and be restricted to her residence during the times
to be determined bv his pretrial services officer
Mr. Reed was absent his residence without the approval of Pretrial Services on the following occasions:

On June ll, 2005, from 3:27 p.m. until 3150 p.m., from 5:48 p.m. to 6:33 p.m., from 6:47 p.m. to 7:07 p.m., from 7:26
p.m. to 7:52 p.m., and from 10:14 p.m. to 12:43 a.m. on June 12, 2005.

On June 12"l from 4:55 a.m. to 5:18 a.m., from 5:55 a.m. to 7:46 a.m., from 7:51 a.m. to 9:00 a.m., from 4:54 p.m. to
5:20 p.mi, from 8:10 p.m. to 9:26 p.m., and from 11:51 p.m. to 12:11 a.m. on June13,2005.

On June 13"‘ from l2:34 a.m. to 2:02 a.m., from 2: 10 a.m. to 2:28 a.m., from 3:58 a.m. to 4:49 a.m.1 and from 9:00 a.m.
until 3:37 a.m. on June 14, 2005. On June 14"‘, from 12:01 p.m. to 12:19 p.m., and on June 15, 2005, from 9:38 a.m.
to 10:20 a.m.

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 55 in
case 2:04-CR-20403 Was distributed by faX, mail, or direct printing on
J unc 20, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

